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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

     MONDRICUS TERRELL and                    :
     MYRON PATRICK JULIAN,                    :    Civil Action File No.
                                              :
           Plaintiffs,                        :
                                              :
     vs.                                      :
                                              :
     CSS TRANSPORTATION LLC,                  :
     and CHRIS SLAUGHTER,                     :
                                              :
            Defendants.
                                      COMPLAINT

     Plaintiffs Mondricus Terrell (“Terrell”) and Myron Patrick Julian (“Julian”)
(collectively “Plaintiffs”) bring this Complaint against Defendants CSS
Transportation, Inc. (“CSS”) and Chris Slaughter (“Slaughter”) (collectively
“Defendants”) and show the Court as follows:
1.      INTRODUCTION
                                              1.
     This is a wage and hour case.
                                              2.

     Slaughter & CSS employed Terrell as a tow truck driver from on or about May
23, 2019 through October 27, 2019. Although Terrell regularly worked more than
forty hours a week, Defendants failed to pay him an FLSA overtime premium for
such overtime hours.



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                                               3.
   Slaughter & CSS employed Julian as a tow truck driver from on or about June

13, 2019 through November 2, 2020. Although Julian regularly worked more than
forty hours a week, Defendants failed to pay him an FLSA overtime premium for
such overtime hours.

                                               4.
   Defendants also failed to provide Terrell with his last several paychecks and
Julian with his last paycheck, thereby failing to compensate them at or above the

statutory minimum wage of $7.25 for each hour worked.


       (a) Jurisdiction and Venue

                                               5.

   This Court has subject matter jurisdiction over the present action under Article
III, § 2 of the United States Constitution, FLSA §16(b), 29 U.S.C. § 216(b) and 28
U. S.C § 1331, because this case arises under the FLSA, a federal statute that affects
interstate commerce.
                                               6.
   Venue properly lies in the Northern District of Georgia under 28 U.S.C. § 1391
because CSS is located in Marietta, Georgia, within this judicial district and a
substantial portion of the events giving rise to the claims herein arose in this judicial
district.




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        (b) The Parties

                                             7.
   Terrell resides in DeKalb County, Georgia.

                                             8.
   Julian resides in Clayton County, Georgia.
                                             9.

   CSS employed Terrell as a tow truck driver in and around Atlanta, Georgia from
approximately May 23, 2019 through October 27, 2019.
                                             10.
   At all times material hereto from July 2018 through October 27, 2019, Terrell has
been an “employee” of CSS as FLSA § 3(e)(1), 29 U.S.C. § 203(e)(1), defines that
term.
                                             11.
   CSS employed Julian as a tow truck driver in and around Atlanta, Georgia from
approximately June 13, 2019 through November 2, 2020.
                                             12.
   At all times from June 13, 2019 through November 2, 2020, Julian has been an
“employee” of CSS as FLSA § 3(e)(1), 29 U.S.C. § 203(e)(1), defined that tern.

                                             13.
   CSS is a domestic for-profit corporation organized under the laws of the State
of Georgia.




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                                               14.
   At all times material hereto, CSS was an “employer” of Plaintiffs as defined in

FLSA § 3(d), 29 U.S.C. §203(d).
                                               15.
   CSS is subject to the personal jurisdiction of this Court.

                                               16.
   CSS may be served with process through its registered agent Chris Slaughter at
2050 Barkwood Court, Marietta, Georgia 30008.

                                               17.
   At all times material hereto, Plaintiffs were “employees” of Slaughter as defined
in the FLSA § 3(e)(1), 29 U.S.C. § 203(e)(1).

                                               18.
   Slaughter resides in Cobb County, Georgia.
                                               19.
   At all times material hereto, Slaughter was an “employer” of Plaintiffs as defined
in FLSA § 3(d), 29 U.S.C. §203(d).
                                               20.
   Slaughter is subject to the personal jurisdiction of this Court.
                                               21.
   Slaughter may be served with process at 2050 Barkwood Court, Marietta,
Georgia 30008.




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      (c) Individual Coverage

                                            22.
   During their respective periods of employment with Defendants, Plaintiffs

regularly operated tow trucks owned by Defendants for the purpose of providing
towing services for the operators and owners of disabled or abandoned vehicles on
Interstate and U.S. Highways, thereby keeping the instrumentalities of interstate

commerce free from obstructions.
                                            23.
   During all times relevant from May 23, 2019 through October 27, 2019, Terrell
was “engaged in commerce” as employees of CSS as defined in the FLSA, § 6(a),
29 U.S.C. § 206 (a) and FLSA, § 7(a)(1), 29 U.S.C. § 207(a)(1).
                                            24.
   During all times relevant from June 13, 2019 through November 2, 2020, Julian
was “engaged in commerce” as employees of CSS as defined in the FLSA, § 6(a),
29 U.S.C. § 206 (a) and FLSA, § 7(a)(1), 29 U.S.C. § 207(a)(1).

      (d) Enterprise Coverage:

                                            25.
   At all times during the period from May 2019 through November 2, 2020

(hereinafter the “Relevant Time Period”), CSS was an “enterprise engaged in
commerce or in the production of goods for commerce” as defined in the FLSA, §
6(a), 29 U.S.C. § 206 (a) and FLSA, § 7(a)(1), 29 U.S.C. § 207(a)(1).




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                                             26.
   Throughout the Relevant Time Period, CSS employed two or more persons who

regularly provided road side services to customers on Interstate and U.S. highways,
thereby providing for the free flow of traffic on the national highway system.
                                             27.

   Throughout 2019, CSS had two or more “employees engaged in commerce” as
defined by 29 U.S.C. § 203(s)(1)(A).
                                             28.

   Throughout 2020, CSS had two or more “employees engaged in commerce” as
defined by 29 U.S.C. § 203(s)(1)(A).
                                             29.

   Throughout the Relevant Time Period, Plaintiffs and other employees of CSS
handled goods which moved in interstate commerce in the furtherance of the
commercial purpose of CSS including trucks, gasoline, engine oil, and cellular
phones.
                                             30.
   Throughout 2019, CSS had two or more “employees handling, selling or
otherwise working on goods or materials that have been moved in or produced for
commerce by any person.” as defined in 29 U.S.C. § 203(s)(1)(A).
                                             31.
   Throughout 2020, CSS had two or more “employees handling, selling or
otherwise working on goods or materials that have been moved in or produced for
commerce by any person.” as defined in 29 U.S.C. § 203(s)(1)(A).

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                                              32.
   Throughout 2019, CSS had an annual gross volume of sales made or business

done of not less than $500,000 (exclusive of excise taxes at the retail level that are
separately stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).
                                              33.

   Throughout 2020, CSS had an annual gross volume of sales made or business
done of not less than $500,000 (exclusive of excise taxes at the retail level that are
separately stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).

                                              34.
   Throughout the Relevant Time Period, CSS has been an “enterprise engaged in
commerce or in the production of goods for commerce" as defined in FLSA § 3(s)(1),

29 U.S.C. § 203(s)(1).

      (e) Statutory Employer

                                              35.
   Throughout the Relevant Time Period, Slaughter was an owner and/or operator
of CSS.
                                              36.
   Throughout the Relevant Time Period, Slaughter exercised operational control

over Plaintiffs’ work activities.
                                              37.
   Throughout the Relevant Time Period, Slaughter was involved in the day-to-day

operation of the CSS.


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                                             38.
   Throughout the Relevant Time Period, CSS vested Slaughter with supervisory

authority over Plaintiffs.
                                             39.
   Throughout the Relevant Time Period, Slaughter exercised supervisory authority

over Plaintiffs.
                                             40.
   Throughout the Relevant Time Period, Slaughter scheduled Plaintiffs’ working

hours or supervised the scheduling of Plaintiffs’ working hours.
                                             41.
   Throughout the Relevant Time Period, Slaughter exercised authority and

supervision over Plaintiffs’ compensation.

      (f) Lack of Exemption – Terrell

                                             42.
   Throughout the Relevant Time Period, Terrell was not exempt from the minimum
wage requirements of the FLSA by reason of any exemption.
                                             43.
   Throughout the Relevant Time Period, Terrell was not exempt from the maximum

hour requirements of the FLSA by reason of any FLSA exemption.
                                             44.
   Throughout the Relevant Time Period, CSS did not employ Terrell in a bona fide

professional capacity within the meaning of 29 USC § 213 (a)(1).


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                                            45.
   Throughout the Relevant Time Period, CSS did not employ Terrell in a bona fide

administrative capacity within the meaning of 29 USC § 213 (a)(1).
                                            46.
   Throughout the Relevant Time Period, CSS did not employ Terrell in a bona

fide executive capacity within the meaning of 29 USC § 213 (a)(1).
                                            47.
   Throughout the Relevant Time Period, Terrell did not supervise two or more

employees.
                                            48.
   Throughout the Relevant Time Period, CSS did not employ Terrell in the capacity

of an “outside salesman” so as to be exempt from the minimum and maximum hour
requirements of 29 USC § 213 (a)(1).
                                            49.
   Throughout the Relevant Time Period, Terrell was not exempt from the maximum
hour requirements of the FLSA because of the Motor Carrier Exemption (29 U.S.C.
§ 213(b)(1)).
                                            50.
   Throughout the Relevant Time Period, Terrell’s work for Defendants did not
involve interstate commerce as defined by the Motor Carrier Act (49 U.S.C.A.
§ 10521).




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                                             51.
   Throughout the Relevant Time Period, Terrell normally operated a repossession

truck or a flatbed tow truck in his performance of work on behalf of Defendants.
                                             52.
   Throughout the Relevant Time Period, Terrell did not travel outside of the State

of Georgia in the performance of his duties for CSS Transportation.
                                             53.
   Throughout the Relevant Time Period, Terrell did not operate “commercial motor

vehicle[s]” within the meaning of the Motor Carrier Act (49 U.S.C.A. § 31132(1)).

      (g) Lack of Exemption – Julian

                                             54.
   Throughout the Relevant Time Period, Julian was not exempt from the minimum

wage requirements of the FLSA by reason of any exemption.
                                             55.
   Throughout the Relevant Time Period, Julian was not exempt from the maximum
hour requirements of the FLSA by reason of any FLSA exemption.
                                             56.
   Throughout the Relevant Time Period, CSS did not employ Julian in a bona fide

professional capacity within the meaning of 29 USC § 213 (a)(1).
                                             57.
   Throughout the Relevant Time Period, CSS did not employ Julian in a bona fide

administrative capacity within the meaning of 29 USC § 213 (a)(1).


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                                            58.
   Throughout the Relevant Time Period, CSS did not employ Julian in a bona fide

executive capacity within the meaning of 29 USC § 213 (a)(1).
                                            59.
   Throughout the Relevant Time Period, Julian did not supervise two or more

employees.
                                            60.
   Throughout the Relevant Time Period, CSS did not employ Julian in the capacity

of an “outside salesman” so as to be exempt from the minimum and maximum hour
requirements of 29 USC § 213 (a)(1).
                                            61.

   Throughout the Relevant Time Period, Julian was not exempt from the maximum
hour requirements of the FLSA because of the Motor Carrier Exemption (29 U.S.C.
§ 213(b)(1)).
                                            62.
   Throughout the Relevant Time Period, Julian’s work for Defendants did not
involve interstate commerce as defined by the Motor Carrier Act (49 U.S.C.A.
§ 10521).
                                            63.
   Throughout the Relevant Time Period, Julian normally operated a flatbed tow
truck in his performance of work on behalf of Defendants.




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                                               64.
   Throughout the Relevant Time Period, Julian rarely traveled outside of the State

of Georgia in the performance of his duties for CSS.
                                               65.
   Throughout the Relevant Time Period, Julian did not operate “commercial motor

vehicle[s]” within the meaning of the Motor Carrier Act (49 U.S.C.A. § 31132(1)).

      (h) Additional Factual Allegations – Terrell

                                               66.

   Throughout the Relevant Time Period, Defendants compensated Terrell on a
commission-only basis.
                                               67.
   Throughout the Relevant Time Period, Defendants calculated Terrell’s

compensation at 30% of what the truck earned per week.
                                               68.
   Throughout the Relevant Time Period, Defendants scheduled Terrell to work six
(6) shifts during each work week.
                                               69.
   Throughout the Relevant Time Period, Defendants scheduled Terrell to work 12

hours, i.e., from 7:00 a.m. until 7:00 p.m., during each work shift.
                                               70.
   Throughout the Relevant Time Period, Terrell often worked in excess of 12 hours

during a work shift.


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                                            71.
   Throughout the Relevant Time Period, Terrell usually worked at least 72 hours

during each work week.
                                            72.
   Throughout the Relevant Time Period, Defendants were aware of the actual

number of hours Terrell worked performing tow services.
                                            73.
   CSS failed to compensate Terrell any wages for the last three weeks that he

worked for Defendants.
                                            74.
   CSS failed to compensate Terrell at a rate of $7.25 per hour for the last three

weeks that he worked.

      (i) Additional Factual Allegations – Julian

                                            75.

   Throughout the Relevant Time Period, Defendants compensated Julian on a
commission-only basis.
                                            76.
   Throughout the Relevant Time Period, Defendants calculated Julian’s
compensation at 30% of what the truck earned per week.
                                            77.
   Throughout the Relevant Time Period, Defendants generally scheduled Julian to
work six (6) days during each work week.



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                                              78.
   Throughout the Relevant Time Period, Defendants generally scheduled Julian to

work from 11:00 a.m. until 11:00 p.m. during each work shift.
                                              79.
   Throughout the Relevant Time Period, Julian usually worked 12 hours during

each work shift.
                                              80.
   Throughout the Relevant Time Period, Julian often worked in excess of 12 hours

despite being scheduled for less.
                                              81.
   Throughout the Relevant Time Period, Julian usually worked at least 72 hours

during each work week.
                                              82.
   Throughout the Relevant Time Period, Defendants were aware of the actual
number of hours Julian worked performing tow services.
                                              83.
   CSS failed to compensate Julian any wages for the last week that he worked for
Defendants.
                                              84.
   CSS failed to compensate Julian at a rate of $7.25 per hour for the last week that
he worked.




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        (j) Allegations Common to both Plaintiffs

                                              85.
   Throughout the Relevant Time Period, Defendants knew or should have known

that the FLSA applied to Plaintiffs.
                                              86.
   Section 6 of the FLSA (29 U.S.C. § 206) requires that Defendants compensate

Plaintiffs at a rate of no less than $7.25 per hour for every hour worked in a work
week.
                                              87.
   Throughout the Relevant Time Period, Defendants knew or should have known
that the Section 6 of the FLSA requires that Defendants compensate Plaintiffs at a
rate of at least $7.25 per hour for every hour worked in a work week.
                                              88.
   Throughout the Relevant Time Period, CSS Transportation willfully failed to
compensate Plaintiffs at a rate of $7.25 per hour for each hour they worked.
                                              89.
   Throughout the Relevant Time Period, Defendants knew or should have known
that Plaintiffs was entitled to FLSA overtime protections.

                                              90.
   Section 7 of the FLSA, 29 U.S.C. § 207, requires that Defendants compensate
Plaintiffs at a rate of one–and–one–half times their regular rate for all time worked

in excess of forty (40) hours in a work week.



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                                              91.
   Throughout the Relevant Time Period, Defendants knew or should have known

that the Section 7 of the FLSA requires that Defendants pay Plaintiffs a premium for
all hours worked above forty (40) hours in a given workweek.
                                              92.

   29 C.F.R. § 778.118 sets forth the manner for calculating overtime wages to
employees who receive a portion of their earnings in commission each week.
                                              93.

   29 C.F.R. § 778.118 requires that the sum total of the commission earned and
other earnings be divided by the total hours worked in order to determine the regular
hourly rate.

                                              94.
   During the Relevant Time Period, Defendants failed to calculate a regular rate for
Plaintiffs by dividing the sum total of the commissions they earned and other
earnings by the total hours worked.
                                              95.
   29 C.F.R. § 778.118 further requires that “(t)he employee must be paid extra
compensation at one-half that rate for each hour worked in excess of” forty hours
per week.
                                              96.
   Throughout the Relevant Time Period, Defendants failed to compensate
Alexander at one-half of his regular rate for each hour worked in excess of forty
hours in each week.

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                                              97.
   Throughout the Relevant Time Period, Defendants knew or should have known

that the Section 7 of the FLSA requires that Defendants compensate Plaintiffs a
premium for all time worked in excess of forty hours in a given workweek.
                                              98.

   Throughout the Relevant Time Period, Plaintiffs regularly worked more than
forty (40) hours during a given workweek.
                                              99.

   Throughout the Relevant Time Period, Defendants failed to pay Plaintiffs at one-
and-one-half times their regular rate for time worked in excess of forty (40) hours in
any and all workweeks.

                 COUNT 1 - FAILURE TO PAY MINIMUM WAGE
                                           100.
   The allegations in paragraphs 1-99 above are incorporated by reference.
                                           101.
   Throughout the Relevant Time Period, Plaintiffs have been employees covered
by the FLSA and entitled to the minimum wage protections set forth in FLSA § 6(a),
29 U.S.C. § 206(a).
                                           102.
   Throughout the Relevant Time Period, Defendants willfully failed to compensate
Plaintiffs at an hourly rate above or equal to the minimum wage as established in
accordance with Section 6 of the FLSA.



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                                          103.
   As a result of the underpayment of minimum wages as alleged above, Plaintiffs

is entitled to payment of minimum wages in an amount to be determined at trial, in
accordance with FLSA § 16(b), 29 U.S.C. § 216(b).
                                          104.

   As a result of the underpayment of minimum wages as alleged above, Plaintiffs
are entitled to liquidated damages in accordance with FLSA § 16(b), 29 U.S.C. §
216(b), declaratory and injunctive relief, and reimbursement of reasonable attorneys’

fees and expenses of litigation, pursuant to 29 U.S.C. § 216(b).

                         COUNT 2 - FAILURE TO PAY OVERTIME

                                          105.
   The allegations in paragraphs 1-104 above are incorporated by reference.
                                          106.
   Throughout the Relevant Time Period, Plaintiffs have been employees covered
by the FLSA and entitled to the overtime protections set forth in FLSA § 7(a), 29
U.S.C. § 207(a).
                                          107.
   Throughout the Relevant Time Period, Plaintiffs regularly worked in Defendants’
employ in excess of forty (40) hours during each work week.




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                                           108.

   Throughout the Relevant Time Period, Defendants failed to pay Plaintiffs at one-
and-one-half times their regular rates for time worked in excess of forty (40) hours
during each work week.
                                           109.

   Throughout the Relevant Time Period, Defendants willfully failed to pay
Plaintiffs at one–and–one–half times their regular rates for work in excess of forty
(40) hours in any week during the period from July 2018 through November 2, 2020.

                                           110.
   Plaintiffs are entitled to payment of overtime in an amount to be determined at
trial, in accordance with FLSA § 16(b), 29 U.S.C. § 216(b).

                                           111.
   As a result of the underpayment of overtime compensation as alleged above,
Plaintiffs are entitled to liquidated damages in accordance with FLSA § 16(b), 29
U.S.C. § 216(b).
                                           112.
   As a result of the underpayment of overtime compensation as alleged above,
Plaintiffs are entitled to their litigation costs, including their reasonable attorneys’
fees in accordance with FLSA § 16(b); 29 U.S.C. § 216(b).

   WHEREFORE, Plaintiffs respectfully prays:
1. That their claims be tried before a jury;

2. That they be awarded due but unpaid minimum wages in amounts to be
   determined at trial against Defendants, jointly and severally;
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3. That they be awarded due additional like amounts in liquidated damages; against
   Defendants, jointly and severally;
4. That they be awarded due but unpaid overtime compensation in amounts to be
   determined at trial against Defendants, jointly and severally;
5. That they be awarded due additional like amounts in liquidated damages; against
   Defendants, jointly and severally;
6. That they be awarded their costs of litigation, including their reasonable
   attorneys' fees from Defendants, jointly and severally;
7. That they be awarded nominal damages; and
8. For such other and further relief as the Court deems just and proper.




      Respectfully submitted,

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